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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  United States of America,                 Case No.: 21-cr-20329
                                            Hon. Paul D. Borman
  Plaintiff,
  v.
  Brandi Hawkins,

  Defendant.                            /

               GOVERNMENT'S SENTENCING MEMORANDUM

       Brandi Hawkins was a contractor employed by the State of Michigan to

review unemployment claims. She was hired at the height of the COVID-19

pandemic, and her job was to review claims flagged by the state’s computer system

as potentially problematic. Hawkins betrayed the trust of the state, taking bribes and

using her insider access to release payment on over seven-hundred fraudulent claims.

Her actions resulted in the fraudulent disbursement of approximately $3.8 million of

federal and state funds intended for unemployment assistance during the pandemic.

Had every fraudulent claim released by Hawkins been disbursed in full, the resulting

loss of federal and state funds would have been over $12 million.

       Hawkins’s guidelines, as estimated by the parties and as calculated by the

Presentence Investigation Report (PSR), call for a sentence of 78 – 97 months. The

government requests that the Court adopt a reduced guidelines range of 58 – 72
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months when sentencing the defendant.

       For the reasons stated in this memorandum, a sentence of 72 months

incarceration—the high point of reduced guidelines range sought by the

government—followed by three years of supervised release, is “sufficient, but not

greater than necessary,” pursuant to the purposes of 18 U.S.C. § 3553(a).

I.    OFFENSE CONDUCT

      On June 30, 2021, Brandi Hawkins pleaded guilty, pursuant to a Rule 11

Agreement, to one count of wire fraud in violation of 18 U.S.C. §1343.

      In April 2020, Hawkins was assigned as a contract employee to work as an

Unemployment Insurance Examiner (UIE) for the State of Michigan (SOM). A UIE

services claimants, employers, and the public regarding the SOM’s Unemployment

Insurance (UI) programs. UIE’s are responsible for reviewing, processing, and

verifying the legitimacy of UI claims.

      Between April and June of 2020, Hawkins worked with outside actors, known

and unknown to law enforcement. Daily, via computer, those actors submitted

numerous false unemployment claims to the SOM; many of these claims were filed

using stolen identities. These actors communicated with Hawkins by cellular

telephone calls and texts, providing personally identifiable information (PII) which

Hawkins used to locate the claims within the SOM’s internal computer system.

Hawkins would then release the “fraud hold” on these claims, which resulted in them


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being paid out to her coconspirators. She accepted bribes in return for releasing

many of them, commonly $250 per claim.

       Hawkins used her insider access to fraudulently release payment on over

seven-hundred claims. Her actions resulted in the fraudulent disbursement of

approximately $3.8 million in federal and state funds intended for unemployment

assistance during the pandemic. Had every fraudulent claim released by Hawkins

been disbursed in full, the resulting loss of federal and state funds would have been

over $12 million.

       Hawkins’s assigned work items and call logs detailed that she had no

legitimate reason to access, let alone modify, the fraudulent claims for which she

released payment. She disregarded internal notations on claims, including the

following statement: “Do not pay; do not close fraud investigation; refer to fraud

unit if claimant contacts agency.”

II.    Restitution

       As part of her Rule 11 agreement, Hawkins has agreed that the Court will

order restitution the State of Michigan in the amount of $3,793,186.

III.   Forfeiture

       Hawkins has agreed to the imposition of a Forfeiture Money Judgment

against her in favor of the United States in the amount $106,250, representing the

value of property she personally obtained as a result of her crime. Hawkins has


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further agreed to consent to the entry of an order of forfeiture implementing the

forfeiture money judgment. The government will submit the proposed order to the

court for entry prior to sentencing.

IV.   Guidelines Range

      The PSR calculates that Hawkins’s sentencing guidelines call for a term of

imprisonment of 78 – 97 months. The government concurs, and Hawkins does not

dispute this range. As previously noted, the government is requesting that a

reduction in Hawkins’s guidelines to 58 – 72 months.

V.    Sentencing Factors

      Title 18, United States Code, Section 3553(a), sets forth a number of factors

the Court shall consider in sentencing the defendant. These factors are described

below, numbered as corresponding to Section 3553(a):

      (1) The nature and circumstances of the offense…

      Hawkins’s guideline range is driven largely by the agreed upon loss amount—

over twelve million dollars of attempted loss, with nearly four million dollars of

actual loss. The magnitude of these figures speaks for itself, but the guidelines fail

to account for aggravating factors that elevate the seriousness of Hawkins’s crime

beyond that of an “average” multi-million-dollar scheme.

      Chief among these factors is that Hawkins’s crimes frustrated the

government’s attempt to get millions of dollars in aid to unemployed American’s


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who lost their jobs during the COVID-19 pandemic. The raison d’état of Hawkins’s

job was to prevent fraud. She was tasked with weeding out claims that were filed in

bad faith. She instead enabled the very fraud that she was employed to prevent,

taking bribes that resulted in millions of dollars ending up in the hands of criminals

instead of needy citizens.

       Not only did Hawkins frustrate the government’s aid scheme, but her actions

undermined faith in the government’s ability to help unemployed Americans at their

most vulnerable. Hawkins’s greedily engaged in her scheme at a unique historical

moment. She took advantage of the government’s need for rapid action, siphoning

off millions of dollars in government aid to her coconspirators.

       The guidelines do not capture these factors; they cannot because of unique

circumstances connected to a historic pandemic. But the government asks that the

Court to take this background into account in fashioning a sentence that best serves

the interest of justice.

       …and the history and characteristics of the defendant;

       Hawkins’s criminal history score is zero. But this is deceptive. She has

several past arrests, and she has convictions for retail fraud and assault and battery.

Because of the age of these convictions, they do not raise her guidelines. But the

Court can, and the government believes that it should, take them into account when




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evaluating Hawkins’s character and deciding where to sentence her within the

guidelines.

      (2) The need for the sentence imposed (A) to reflect the seriousness of
the offense, to promote respect for the law, and to provide just punishment for
the offense; (B) to afford adequate deterrence; (C) to protect the public from
further crimes of the defendant; and (D) to provide defendant with
appropriate education or vocational training.
      Hawkins’s punishment should take into account not only the scope and

seriousness of her criminal conduct but also the need to deter future crimes—both

by Hawkins and by others.        With respect to specific deterrence, significant

incarceration is necessary to demonstrate to Hawkins the proverbial mantra that

“crime does not pay.”

      The sentence must also function as a general deterrent. This is crucial in this

case. Over the past year-plus, the government has acted rapidly to enact numerous

programs to aid to those whose livelihoods have been impacted by the COVID-19

pandemic. Unemployment aid, payroll loans, and other forms of aid have been

aggressively rolled out to help keep Americans financial stable during dark times.

Unfortunately, but also unsurprisingly, fraudulent applications for such aid are

rampant. Harsh punishment for those caught abusing such aid programs is needed

to deter others who see these programs as targets for fraud.




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      (3) The kinds of sentences available

      Under 18 U.S.C. § 1343 (Wire Fraud), the maximum penalty is twenty years

imprisonment and/or a fine not to exceed $250,000.00.

      (4) The sentencing range established by the Guidelines

      As set forth above in Section IV, the appropriate sentencing range, pursuant

to the U.S. Sentencing Guidelines, is 78 to 97 months imprisonment. The

government is requesting that the Court apply a reduced range of 58 – 72 months.

      (5) Pertinent policy statements issued by the Sentencing Commission

      The government is unaware of any pertinent policy statement issued by the

United States Sentencing Commission.

      (6) The need to avoid unwarranted sentencing disparities among
      defendants with similar records found guilty of similar conduct
      The government believes that a guideline sentence will best ensure uniformity

in sentencing among similarly situated defendants.

      (7) The need to provide restitution

      Restitution is mandatory in this case, as dictated by the Mandatory Criminal

Restitution Act codified at 18 U.S.C. § 3663A. The necessary restitution in this case

is described above in Section II.




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                             RECOMMENDATION

      For all the reasons above, the government recommends that defendant Brandi

Hawkins be sentenced to a term of 72 months in prison followed by three years of

supervised release and also ordered to pay restitution as described above in Section

II.

                                             Respectfully submitted,

                                             SAIMA MOHSIN
                                             Acting United States Attorney


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